                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )      NO. 3:12-00112
                                                     )      JUDGE CAMPBELL
RUBEN GONZALEZ FABIAN and                            )
CARLOS CAEZ-ROSA                                     )

                                             ORDER

        Pending before the Court is Defendant Ruben Gonzalez Fabian’s Motion to Continue Trial

(Docket No. 38).

        The pretrial conference for Defendant Ruben Gonzalez Fabian is continued to February 25,

2013, at 12:00 p.m., to allow Defendant’s counsel to obtain a waiver. The trial for Defendant Ruben

Gonzalez Fabian remains scheduled for February 26, 2013.

        The plea hearing for Defendant Carlos Caez-Rosa remains scheduled for February 15, 2013,

at 1:00 p.m.

        It is so ORDERED.

                                                     ____________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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